         19-23985-shl        Doc 28    Filed 03/25/20 Entered 03/26/20 00:18:11           Imaged
                                      Certificate of Notice Pg 1 of 2
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                           300 Quarropas Street
                                           White Plains, NY 10601


IN RE: Samantha G. Jenkins                            CASE NO.: 19−23985−shl

Social Security/Taxpayer ID/Employer ID/Other Nos.:   CHAPTER: 13
xxx−xx−6198




              NOTICE OF ADJOURNMENT OF CONFIRMATION HEARING



PLEASE TAKE NOTICE that the Chapter 13 Confirmation Hearing that was scheduled for March 25, 2020 will now
be heard on May 27, 2020 at 9:20 AM before the Honorable Sean H. Lane at the United States Bankruptcy Court,
White Plains Courthouse, 300 Quarropas Street, Courtroom TBA, White Plains, New York, 10601.



Dated: March 20, 2020                                   Vito Genna
                                                        Clerk of the Court
               19-23985-shl          Doc 28       Filed 03/25/20 Entered 03/26/20 00:18:11                          Imaged
                                                 Certificate of Notice Pg 2 of 2
                                               United States Bankruptcy Court
                                               Southern District of New York
In re:                                                                                                     Case No. 19-23985-shl
Samantha G. Jenkins                                                                                        Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0208-7                  User:                              Page 1 of 1                          Date Rcvd: Mar 23, 2020
                                      Form ID: 143                       Total Noticed: 15


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 25, 2020.
db             +Samantha G. Jenkins,   24 Montgomery Place,    New Rochelle, NY 10804-4417
smg            +N.Y. State Unemployment Insurance Fund,    P.O. Box 551,   Albany, NY 12201-0551
smg             New York City Department of Finance,    Attn: Bankruptcy & Assignment Unit,
                 345 Adams Street, 3rd Floor,    Attn: Legal Affairs - Devora Cohn,     Brooklyn, NY 11201-3719
smg            +Parking Violations Bureau,    210 Joralemon Avenue,   Brooklyn, NY 11201-3745
smg            +United States Attorney’s Office,    Southern District of New York,
                 Attention: Tax & Bankruptcy Unit,    86 Chambers Street, Third Floor,    New York, NY 10007-1825
smg             Westchester County Sheriff’s Dept.,    Room L 217,   110 Dr. Martin Luther King Blvd.,
                 White Plains, NY 10601-2519
7679990        +ECKERT SEAMANS CHERIN & MELLOTT, LLC,    10 BANK STREET,   SUITE 700,
                 WHITE PLAINS, NY 10606-1947
7694507        +ECKERT SEAMANS CHERIN & MELLOTT, LLC,    Attorneys for Select Portfolio,    Servicing, Inc.,
                 10 Bank Street, Suite 700,    White Plains, New York 10606-1933
7677852        +EMC Mortgage Corporation,    909 Hidden Ridge Drive,   Suite 200,    Irving, TX 75038-3826
7638732        +LAW OFFICE OF ARONOW P.C.,    20 CROSSWAYS PK DRIVE SUITE 21,    WOODBURY, NY 11797-2007

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Mar 23 2020 20:04:46
                 N.Y. State Dept. Of Taxation And Finance,   Bankruptcy/Special Procedures Section,
                 P.O. Box 5300,   Albany, NY 12205-0300
smg             E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Mar 23 2020 20:04:47
                 New York State Tax Commission,   Bankruptcy/Special Procedures Section,   P.O. Box 5300,
                 Albany, NY 12205-0300
7667734         E-mail/Text: JCAP_BNC_Notices@jcap.com Mar 23 2020 20:04:38     Jefferson Capital Systems LLC,
                 PO Box 7999,   Saint Cloud MN 56302-9617
7639585        +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Mar 23 2020 20:06:55
                 PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
7677851        +E-mail/Text: jennifer.chacon@spservicing.com Mar 23 2020 20:04:56
                 Select Portfolio Servicing Inc,   3217 S Decker Lake Dr,   Salt Lake City, UT 84119-3284
                                                                                            TOTAL: 5

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Select Portfolio Servicing, Inc., servicer for U.S
smg*             +United States Attorney’s Office,   Southern District of New York,
                   Attention: Tax & Bankruptcy Unit,   86 Chambers Street, Third Floor,                        New York, NY 10007-1825
                                                                                                                   TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 25, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 20, 2020 at the address(es) listed below:
              Kenneth J. Flickinger   on behalf of Creditor   Select Portfolio Servicing, Inc., servicer for
               U.S. Bank National Association, as Trustee, successor in interest to Bank of America National
               Association, as Trustee as successor b kflickinger@eckertseamans.com
              Krista M. Preuss   info@ch13kp.com, kpreuss13@ecf.epiqsystems.com
              Krista M. Preuss   on behalf of Trustee Krista M. Preuss info@ch13kp.com,
               kpreuss13@ecf.epiqsystems.com
              United States Trustee   USTPRegion02.NYECF@USDOJ.GOV
                                                                                            TOTAL: 4
